Case 2:24-cv-01129-RJC   Document 24-11   Filed 12/02/24   Page 1 of 23




               Exhibit K
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 1 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 2 of 23




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge William J. Martínez

   Civil Action No. 20-cv-0601-WJM-SKC

   ANDREW BACHANOV, on behalf of himself and all similarly situated,

          Plaintiff,

   v.

   FEDEX GROUND PACKAGE SYSTEM, INC.,

          Defendant.


                       ORDER GRANTING DEFENDANT FEDEX GROUND’S
                            MOTION FOR SUMMARY JUDGMENT


          This employment wage dispute is before the Court on Defendant FedEx Ground

   Package System, Inc.’s (“FedEx Ground”) Motion for Summary Judgment (the

   “Motion”). (ECF No. 19.) Plaintiff Andrew Bachanov responded in opposition (ECF No.

   36), and FedEx Ground replied (ECF No. 38). For the following reasons, the Motion is

   granted.

                                   I. STANDARD OF REVIEW

          Summary judgment is warranted under Federal Rule of Civil Procedure 56 “if the

   movant shows that there is no genuine dispute as to any material fact and the movant

   is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also Anderson v.

   Liberty Lobby, Inc., 477 U.S. 242, 248–50 (1986). A fact is “material” if, under the

   relevant substantive law, it is essential to proper disposition of the claim. Wright v.

   Abbott Labs., Inc., 259 F.3d 1226, 1231–32 (10th Cir. 2001). An issue is “g enuine” if

   the evidence is such that it might lead a reasonable trier of fact to return a verdict for
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 2 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 3 of 23




   the nonmoving party. Allen v. Muskogee, 119 F.3d 837, 839 (10th Cir. 1997).

           In analyzing a motion for summary judgment, a court must view the evidence

   and all reasonable inferences therefrom in the light most favorable to the nonmoving

   party. Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 670 (10th Cir. 1998) (citing

   Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)). In

   addition, the Court must resolve factual ambiguities against the moving party, thus

   favoring the right to a trial. See Houston v. Nat’l Gen. Ins. Co., 817 F.2d 83, 85 (10th

   Cir. 1987).

                                         II. BACKGROUND

   A.      Undisputed Facts1

           FedEx Ground is registered as a motor carrier of property for compensation with

   the U.S. Department of Transportation (“USDOT”) and the Federal Motor Carrier Safety

   Administration (“FMCSA”). (ECF No. 19-1 ¶ 4.) As a registered motor carrier, FedEx

   Ground is subject to the regulatory authority of the USDOT and the FMCSA. (Id. ¶ 5.)

   FedEx Ground provides package pick-up and delivery services for compensation to

   businesses and residences in all fifty states. (Id. ¶ 6.) The vast majority of packages

   delivered from FedEx Ground stations in Colorado originated outside of Colorado. (Id.

   ¶ 7.)


           1
             The following factual summary is taken from FedEx Ground’s Statement of
   Undisputed Facts (ECF No. 19 at 2–3) and Bachanov’s Additional Statement of Undisputed
   Facts (ECF No. 36 at 2). Bachanov states that all of FedEx Ground’s proposed undisputed
   facts are admitted for purposes of resolving the Motion. (ECF No. 36 at 2.) Bachanov added
   one statement of fact regarding his lack of interstate travel for work (id.), which FedEx admits
   for the purposes of the Motion (ECF No. 38 at 2). All citations to docketed materials are to the
   page number in the CM/ECF header, which sometimes differs from a document’s internal
   pagination.

                                                   2
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 3 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 4 of 23




          Bachanov was employed as a delivery driver by an independent business entity

   with which FedEx Ground contracted for delivery services, from November 2016 to

   November 2018. (ECF No. 9-2 at ¶¶ 2, 7.) While working for FedEx Ground,

   Bachanov never traveled outside of Colorado. (ECF No. 36-1 at ¶ 13.)

   B.     Procedural History

          On January 31, 2020, Bachanov filed the Class Action Complaint in the District

   Court of Denver County, Colorado. (ECF No. 9-2.) Based on allegations that FedEx

   Ground failed to pay its drivers overtime wages required by Colorado law, he alleges

   two claims: (1) violation of the Colorado Wage Claim Act (“CWCA”), Colo. Rev. Stat.

   § 8-4-101, et seq.; and (2) violation of the Colorado Minimum Wage Act (“CMWA”),

   Colo. Rev. Stat. § 8-6-101, et seq. Bachanov brings the case as a class action under

   Colorado Rule of Civil Procedure 23. (ECF 9-2 ¶¶ 19–20.) Accordingly, Bachanov

   preliminarily defines the class as follows:

                 ALL CURRENT OR FORMER LOCAL FEDEX DRIVERS
                 WHO WERE NOT COMPENSATED LAWFULLY FOR ALL
                 OVERTIME HOURS WORKED IN COLORADO WITHIN
                 THE APPLICABLE STATUTE OF LIMITATIONS.

   (ECF No. 9-2 ¶ 19.)

          On March 3, 2020, FedEx Ground removed the case based on diversity

   jurisdiction under the Class Action Fairness Act, 28 U.S.C. § 1332(d). (ECF No. 1 at 1.)

   On March 31, 2020, FedEx Ground filed the Motion (ECF No. 19), which became ripe

   for review on May 19, 2020 (ECF No. 38).




                                                 3
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 4 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 5 of 23




                                            II. ANALYSIS

   A.     Legal Background

          The Colorado Minimum Wage Order (the “Wage Order”), promulgated under the

   CMWA, sets the minimum wage and overtime pay requirements for Colorado

   employees who work in certain industries. See Colo. Dep’t of Labor & Emp’t Wage

   Order Archive, at https://cdle.colorado.gov/wage-and-hour-law/wage-order-archive (last

   visited Dec. 2, 2020); see also Colo. Rev. Stat. § 8-6-101, et seq.2 Wage Orders 32–34

   were effective between November 2016 and November 2018, the time in which

   Bachanov performed the work for FedEx Ground creating the basis for this lawsuit.3

   Relevant here, Wage Orders 32–34 exempt drivers who transport goods in interstate

   commerce from the minimum wage and overtime pay requirements:

                   5.     Exemptions from the Wage Order:

                   The following employees or occupations, as defined below,
                   are exempt from all provisions of Minimum Wage Order No.
                   32: administrative, executive/supervisor, professional,
                   outside sales employees, and elected officials and members
                   of their staff. Other exemptions are: companions, casual
                   babysitters, and domestic employees employed by
                   households or family members to perform duties in private
                   residences, property managers, interstate drivers, driver
                   helpers, loaders or mechanics of motor carriers, taxi cab
                   drivers, and bona fide volunteers. . . .




          2
              The Wage Order is reissued yearly to reflect the current Colorado minimum wage.
          3
            Wage Order 32 was effective January 1, 2016 to December 31, 2016; Wage Order 33
   was effective January 1, 2017 to December 31, 2017; and Wage Order 34 was effective
   January 1, 2018 to December 31, 2018. See Colo. Dep’t of Labor & Emp’t Wage Order
   Archive, at https://cdle.colorado.gov/wage-and-hour-law/wage-order-archive (last visited Dec. 2,
   2020).

                                                   4
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 5 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 6 of 23




   (ECF No. 19-2 at 6 (emphasis added).)4

          Although the Wage Orders do not define any of the terms used in the interstate-

   driver exemption, the terms originate in the Motor Carrier Act (“MCA”) exemption to the

   Fair Labor Standards Act (“FLSA”). See 29 U.S.C. § 213(b)(1) (excluding from the

   FLSA’s overtime requirement “any employee with respect to whom the Secretary of

   Transportation has power to establish qualifications and maximum hours of service

   pursuant to the provisions of section 31502 of Title 49”); see also 49 U.S.C. § 31502(b)

   (stating that the Secretary of Transportation has authority to prescribe requirements for,

   among other things, motor carriers engaged in interstate and foreign commerce).

          In Deherrera v. Decker Truck Line, Inc., the Tenth Circuit addressed whether the

   Wage Order exempts “interstate drivers”—specifically truck drivers who only drive the

   intrastate leg of a shipment in Colorado—from overtime requirements. 820 F.3d 1147,

   1151, 1159–60 (10th Cir. 2016). The Tenth Circuit noted that the applicability of the

   exemption depends on whether the employee is engaged in interstate commerce. Id.

   at 1154–55. In Foxworthy v. Hiland Dairy Co., the Tenth Circuit explained the principle

   that intrastate transportation may still be interstate in character when it “forms a part of

   a ‘practical continuity of movement’ across state lines from the point of origin to the

   point of destination.” 997 F.2d 670, 672 (10th Cir. 1993) (quoting Walling v.

   Jacksonville Paper Co., 317 U.S. 564, 568 (1943)). Consistent with Foxworthy,

   Deherrera found that “[a]n employee engages in interstate commerce where the

   ‘essential character’ of the shipment is interstate in nature.” Deherrera, 820 F.3d at



          4
              The exemption language is the same in Wage Orders 32, 33, and 34.

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Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 6 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 7 of 23




   1155 (citations omitted). Thus, the Tenth Circuit held that “[b]y driving an intrastate leg

   of shipments in interstate commerce, Plaintiffs became subject to the authority of the

   Secretary of Transportation and were thus exempt from the overtime pay requirements

   fo the FLSA and the [Colorado] W age Order.” Id. at 1147, 1151, 1159–60; see also

   Combs v. Jaguar Energy Servs., LLC, 683 F. App’x 704, 707 (10th Cir. 2017).

          In applying that holding to the Wage Order, Deherrera determined that the Wage

   Order’s exemption for interstate drivers “should be read in harmony with the meaning of

   interstate commerce under the MCA exemption to the FLSA”:

                 We read these two exemptions harmoniously because many
                 of the Wage Order provisions (including the overtime
                 exemptions) are patterned largely after the FLSA . . . . And
                 where a state law is patterned after a federal law or
                 designed to implement its policies, federal constructions of
                 the law “should be accorded great weight.” See People v.
                 Gallegos, 251 P.3d 1056, 1062 (Colo. 2011). Because
                 Plaintiffs are engaged in interstate commerce for purposes
                 of the MCA exemption to the FLSA (as we established
                 above), they are also “interstate drivers” under the Wage
                 Order exemption.

   Combs, 683 F. App’x at 707 (quoting Deherrera, 820 F.3d at 1161 (emphasis added)).

   Notably, the Tenth Circuit observed that “[w]hen read in context, we do not believe the

   disputed terms here present any ambiguity.” Deherrera, 820 F.3d at 1161. Ultimately,

   the Tenth Circuit found that truck drivers who transported goods entirely within the state

   of Colorado were nonetheless essentially engaged in interstate commerce and exempt

   from the FLSA’s overtime provisions and Colorado’s Wage Order. See id.

          In a subsequent, unpublished case examining Deherrera, the Tenth Circuit noted

   that it considers Deherrera’s “stand-alone rationale, based on Colorado precedent, f or



                                                6
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 7 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 8 of 23




   concluding that the interpretation of the Wage Order exemption should be guided by

   judicial constructions of the MCA exemption” to be “a binding panel holding.” Combs,

   683 F. App’x at 708 n.3; see also Nelson v. FedEx Ground Package Sys., Inc., 2019

   WL 1437765, at *4 (D. Colo. Feb. 8, 2019) (Deherrera is binding precedent);

   Bracamontes v. Bimbo Bakeries U.S.A. Inc., 2017 WL 3190740, at *3 (D. Colo. July 14,

   2017) (applying Deherrera and Foxworthy).

          In 2018, Division I of the Colorado Court of Appeals diverged from Deherrera,

   finding as a matter of first impression that the Wage Order’s “interstate driver”

   exemption applies “only to drivers whose work takes them across state lines.”

   Brunson v. Colo. Cab Co., LLC, 433 P.3d 93, 100 (Colo. App. Feb. 8, 2018), cert.

   granted, 2018 WL 3019042 (Colo. June 18, 2018), and cert. dismissed, 2019 WL

   578344 (Colo. Jan. 29, 2019). Brunson found that the term “interstate drivers” was

   ambiguous, reasoning that it could mean drivers who crossed state lines or drivers who

   transported goods in interstate commerce without crossing state lines, consistent with

   the MCA. Id. at 97. Given this ambiguity, the court looked beyond the express

   language of the exemption to understand the term’s meaning. Id. Rejecting Deherrera,

   the court relied on the Colorado Department of Labor and Employment’s (“CDLE”)

   Advisory Bulletin (ECF No. 36-2; ECF No. 38-2), which separately defined “interstate”

   and “intrastate” drivers, and found that the term “interstate drivers” in the Wage Order




                                                7
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 8 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 9 of 23




   applies only to drivers whose work takes them across state lines.5 Id. at 99, 101.

          The court concluded that the W age Order’s interstate drivers exemption “does

   not resemble, much less closely parallel, the MCA overtime pay exemption to the

   FLSA” and did “not perceive the similarities identified by Deherrera as demonstrating a

   sufficiently close parallel between the state and federal overtime pay exemption

   provisions.” Id. at 98–99 (citations omitted). Thus, Brunson accorded a narrower

   meaning to “interstate drivers” than that accorded under the MCA exemption.

          Following Brunson and effective as of March 16, 2020, a new, revised CDLE

   order known as the Colorado Overtime and Minimum Pay Standards Order 36

   (“COMPS Order 36”) replaced Wage Order 35 and all prior Wage Orders. See 7 Colo.

   Code Regs. § 1103-1:1(1.1). COMPS Order 36 differs from the prior Wage Orders by

   adding language adopting the position that the interstate driver exemption only applies

   to drivers whose individual delivery routes physically cross state lines:

                 2.2.6 Interstate transportation workers and taxi cab drivers.

                 This exemption covers:

                 (A) an employee who is a driver, a driver’s helper, or a
                 loader or mechanic of a motor carrier, if the employee
                 crosses state lines in the course of his or her work; and

                 ....

   7 Colo. Code Regs. § 1103-1:2 (2.2.6) (emphasis added). In the Statement of Basis,



          5
            Brunson did not “give the Advisory Bulletin the same deference that an agency’s
   interpretation arrived at after notice-and-comment rulemaking would warrant under Chevron,
   U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 844 (1984).” Brunson,
   433 P.3d at 99. But the court concluded the Advisory Bulletin interpretation was “entitled to
   respect.” Id.

                                                 8
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 9 of 20
       Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 10 of 23




   Purpose, Specific Statutory Authority, and Findings, the CDLE explained the new

   construction of Rule 2.2.6:

                d.     Rule 2.2.6. Taxi cab drivers or Interstate transport
                       workers.

                        Rule 2.2.6 preserves the exemption in Section 5 of
                Order #35 for “interstate drivers, driver helpers, loaders or
                mechanics of motor carriers, [and] taxi cab drivers,” with
                important clarifications. The construction of “interstate
                drivers, drivers helpers, loaders or mechanics of motor
                carriers” in Order #35 left unclear (1) whether “interstate”
                qualified “drivers” only, or qualified “drivers helpers, loaders
                or mechanics” and (2) whether “interstate” was intended to
                have the definition used in the federal Motor Carrier Act of
                1935 (“MCA”) (essentially, in interstate commerce), or to
                mean actually crossing state lines. This ambiguity created
                conflicting federal and state precedent, with the former
                holding that the exemption was coextensive with the FLSA
                MCA exemption [citing in footnote Deherrera and Combs]
                and the latter holding that “interstate” required crossing state
                lines (but only for drivers) [citing in footnote Brunson]. The
                Division’s original intent with this exemption was in line with
                the state court precedent: to exempt employees whose work
                took them across state lines and thus beyond the Division’s
                jurisdiction. Rule 2.2.6 now clarifies this intended
                interpretation, which applies to drivers as well as drivers
                helpers, loaders, and mechanics.

                ....

   See Colo. Dep’t of Labor and Emp’t, Division of Labor Standards and Statistics,

   Statement of Basis, Purpose, Specific Statutory Authority, and Findings,

   https://www.colorado.gov/pacific/sites/default/files/7%20CCR%201103-

   1%20Statement%20of%20Basis,%20Purpose,%20Authority,%20and%20Findings.pdf

   (last visited Dec. 1, 2020); (ECF No. 38-1 at 3–4).




                                               9
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 10 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 11 of 23




   B.     Parties’ Arguments

          The defining question in this case is whether Bachanov is an interstate driver

   within the meaning of the Wage Order even though he only drove for FedEx Ground

   within Colorado.

          As an initial matter, FedEx Ground underscores that Wage Orders 32–34 apply

   here because they were effective during Bachanov’s employment with FedEx Ground,

   not COMPS Order 36 (which post-dated Bachanov’s employment with FedEx Ground).6

   (ECF No. 19 at 4, 8.) Thus, FedEx Ground argues, as an interstate driver, Bachanov

   was exempt from the overtime provisions of Wage Orders 32-34. (Id.)

          In the Motion, FedEx Ground argues that the interpretation of the Wage Order’s

   interstate driver exemption rendered in Deherrera, a published Tenth Circuit opinion,

   controls the outcome here. (Id. at 6.) FedEx Ground relies on principles of stare

   decisis, which provide that “when a panel of [the Tenth Circuit] has rendered a decision

   interpreting state law, that interpretation is binding on district courts in this circuit, and

   on subsequent panels of this Court, unless an intervening decision of the state’s

   highest court has resolved the issue.” Kokins v. Teleflex, Inc., 621 F.3d 1290, 1295

   (10th Cir. 2010) (alterations added and citations om itted). FedEx Ground emphasizes

   that the Colorado Supreme Court has not issued any decisions expressing a contrary

   interpretation, and thus this Court must follow and apply Deherrera. (Id.)

          FedEx Ground anticipates Bachanov’s argument that he is an intrastate driver



          6
             Bachanov does not appear to dispute this point, instead arguing that Wage Orders
   32–24 were intended to mean the same thing as COMPS Order 36 or that the Court should
   retroactively apply COMPS Order 36. (See ECF No. 36.)

                                                  10
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 11 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 12 of 23




   and not covered by the Wage Order’s exemption for interstate drivers, and that COMPS

   Order 36 applies to him. (Id. at 8.) However, FedEx Ground argues that COMPS Order

   36 cannot apply to Bachanov’s case because his employment predated the effective

   date of that order. (Id.) Moreover, because the Tenth Circuit found in Deherrera that

   the meaning of “interstate” as used in the Wage Orders is unambiguous and consistent

   with the ordinary use of the term in the FLSA and other regulations and statutes, this

   Court must follow that interpretation regardless of what the CDLE now says. (Id.)

          In addition, should the Court find that the Wage Order exemption applies only to

   drivers who physically cross state lines, FedEx Ground argues that enforcement of the

   Wage Order’s overtime requirements would nonetheless be preempted as to Bachanov

   and other drivers employed by motor carriers engaged in the transportation of property.

   (Id. at 9 (citing 49 U.S.C. § 1450(c)(1).)

          In response, Bachanov argues the Court should follow Brunson and find that, as

   an intrastate driver, the interstate driver exemption in the Wage Order does not apply to

   him. (ECF No. 36 at 3–4.) Bachanov characterizes the Tenth Circuit’s opinion in

   Deherrera as an incorrect “Erie guess.” (Id. at 4.) Further, he disputes FedEx Ground’s

   argument that COMPS Order 36 does not apply to him because that argument “ignores

   CDLE’s intent to clarify what the exemption has always meant.” (Id. at 5.) Rather than

   change the law, Bachanov argues that COMPS Order 36 “merely clarified the

   exemption,” pointing to the language in the CDLE’s Statement of Basis recognizing the

   conflicting decisions in Brunson and Deherrera to support his position. (Id.) According

   to Bachanov, because it is a clarification—and not a change—“Deherrera’s Erie guess



                                                11
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 12 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 13 of 23




   never actually changed the scope of the ‘interstate drivers’ exemption.” (Id. at 6.) As

   such, Bachanov asserts that the Wage Orders in effect at the time he worked for FedEx

   Ground required that he be paid overtime wages.

          Alternatively, Bachanov contends that even if the exemption did in fact change,

   the change should be applied retroactively. (Id. at 6–8.) Acknowledging the

   “presumption that legislation is prospective,” Bachanov argues that the amendment can

   apply retroactively if that is the legislative intent. (Id. at 6.) He asserts that the change

   is not impermissibly “retrospective” in that it does not impair a vested right or create a

   new obligation, duty or disability, and thus may be applied retroactively. See In re

   Estate of DeWitt, 54 P.3d 849, 854 (Colo. 2002) (“A statute is retrospective if it takes

   away or impairs vested rights acquired under existing laws, or creates a new obligation,

   imposes a new duty, or attaches a new disability, in respect to transactions or

   considerations already past.”) (internal quotation marks and citation omitted). Finally,

   Bachanov argues there is no evidence to support preemption. (ECF No. 36 at 8–15.)

   C.     Application

                 1.     Colorado Minimum Wage Act

                        (a)     Deherrera Constitutes Binding Authority

          Despite Bachanov’s reliance on Brunson and characterization of Deherrera as

   an “Erie guess,” the Court agrees with FedEx Ground that Deherrera constitutes

   binding authority here. Given that Deherrera directly addressed the language in the

   Wage Orders that were effective during Bachanov’s employment with FedEx Ground,

   the Court must follow the circuit panel’s published decision. Importantly, for the



                                                 12
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 13 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 14 of 23




   purposes of the Motion, the parties do not dispute that Bachanov solely drove within

   Colorado during his employment; however, under Deherrera, that distinction does not

   change the application of the exemption to Bachanov. Applying Deherrera, the Court

   finds that Bachanov, as a driver who did not cross state lines but nevertheless

   transported goods in interstate commerce, is an interstate driver subject to the Wage

   Order’s exemption. See Deherrera, 820 F.3d at 1151.

          While the Court is mindful that in Combs, the Tenth Circuit recognized the

   possibility that “Deherrera’s understanding of Colorado law could, of course, be

   reexamined in light of subsequent relevant state court decisions,” the Colorado

   Supreme Court—Colorado’s highest court—has not weighed in on the matter. Combs,

   683 F. App’x at 708. Brunson is merely a decision of one division of the Colorado Court

   of Appeals, and one with which other divisions may disagree.

          In fact, in Gomez v. JP Trucking, Inc., 2020 WL 6495093, at *5 (Colo. App. Nov.

   5, 2020), Division VI of the Colorado Court of Appeals did just that. 7 Similar to this

   case, the Gomez court addressed the interstate driver exemption. Wage Order 31 was

   in effect at the time of the events in Gomez, though the court acknowledged that the

   CDLE had promulgated subsequent wage orders.8 Id. at *1 n.1. Specifically, the court

   recognized that after Brunson, the CDLE promulgated COMPS Order 36, but


          7
            The Motion became ripe on May 19, 2020. (ECF No. 38.) Therefore, the parties did
   not have the benefit of Gomez when briefing the Motion. However, the Court notes that neither
   party provided the Court with Gomez as supplemental authority.
          8
             Wage Order 31 contains the same interstate driver language as the applicable Wage
   Orders 32–34 in this case. See Colo. Dep’t of Labor and Emp’t, Wage Order 31,
   https://cdle.colorado.gov/sites/cdle/files/Minimum%20Wage%20Order%2031.pdf (last visited
   Dec. 1, 2020).

                                                13
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 14 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 15 of 23




   “[b]ecause the COMPS Order was not in effect at the time Employees worked for JP

   Trucking, [the Gomez] opinion [did] not address the scope of the COMPS Order.”9 Id.

   at *6 n.4.

           Analyzing the pre-COMPS Order 36 language, Gomez “depart[ed] from

   Brunson’s conclusion that the federal and state exemptions are not substantially

   similar.” Id. at *5. Instead, aware that the CDLE had recently implemented COMPS

   Order 36, the Gomez court nonetheless rejected Brunson and “agree[d] with Deherrera

   that the Wage Order provisions are largely patterned after the FLSA.” Id. The court

   observed that

                 knowing the body of federal case law exempting drivers who
                 drive only an intrastate leg of a longer journey, the
                 Department did not add language to the Wage Order limiting
                 the term “interstate drivers” to those who cross state
                 boundaries. And we may not read a restriction into the
                 Wage Order that was not placed there by the Department.[]
                 See E-470 Pub. Highway Auth. v. Revenig, 140 P.3d 227,
                 229 (Colo. App. 2006) (“We may not read into a statute an
                 exception that its plain language does not suggest, warrant,
                 or mandate.”).

   Id. at *6.

           As in Gomez, this Court, too, declines to retroactively read a subsequent

   restriction into Wage Orders 32–24. And, simply because the CDLE has interpreted the

   Wage Order exemption differently than in years past in light of what it sees as

   conflicting judicial opinions, such an interpretation cannot supersede Deherrera. Unless


           9
            It is unclear whether the parties asked the Gomez court to retroactively apply COMPS
   Order 36, as Bachanov does here. Nonetheless, the Court finds it instructive that although the
   Gomez court was aware of COMPS Order 36 and presumably the Statement of Basis
   explaining its rationale, the court did not even mention—much less analyze—whether COMPS
   Order 36 could be applied retroactively. Instead, the court simply analyzed Wage Order 31.

                                                 14
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 15 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 16 of 23




   and until the Colorado Supreme Court interprets the interstate driver exemption in a

   materially different manner, or the Tenth Circuit changes course, this Court must follow

   Deherrera. See Anderson Living Tr. v. WPX Energy Prod., LLC, 306 F.R.D. 312, 430

   (D.N.M. 2015), adhered to on reconsideration, 312 F.R.D. 620 (D.N.M. 2015) (finding

   that the court “cannot defy the Tenth Circuit’s express holding in [Kokins], which is that

   federal district courts may only consider cases from a state supreme courts [sic] to be

   ‘intervening authority’ when balancing Erie and vertical stare decisis”).

                        (b)    COMPS Order 36

          Bachanov makes two related arguments regarding COMPS Order 36. First, he

   argues that COMPS Order 36 merely clarifies the exemption. (ECF No. 36 at 4–6.)

   Second, he argues that even if the exemption changed, the change is retroactive. (Id.

   at 6–8.) The Court finds both positions unavailing.

          First, the Court finds that COMPS Order 36 changed, rather than clarified, the

   Wage Order exemption. Deherrera determined that the Wage Order exemption was

   modeled after the MCA exemption, meaning that even drivers like Bachanov, who

   solely drive intrastate, are exempt interstate drivers under the Wage Order. As FedEx

   Ground asserts, “By limiting the exemption to those who cross state lines (instead of

   those engaged in interstate commerce), [COMPS Order 36] fundamentally changed its

   scope.” (ECF No. 38 at 8.) Despite statements by the CDLE that its intent was to

   “clarify” the exemption, those statements simply do not alter the fact that under

   Deherrera, the applicable Wage Orders exempted Bachanov from overtime pay, but

   under COMPS Order 36, he might be entitled to those overtime wages. In the Court’s



                                               15
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 16 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 17 of 23




   view COMPS Order 36 materially changed the relevant legal relationship between the

   parties by creating a new obligation on FedEx Ground to pay overtime wages to a class

   of employees previously not entitled to such compensation under the CDLE W age

   Orders in effect during the putative class period.

          The Colorado Supreme Court has observed that “even a clear indication of intent

   to clarify cannot dispositively establish the meaning of previous legislation.” Union Pac.

   R. Co. v. Martin, 209 P.3d 185, 188 (Colo. 2009) (citations om itted). Here, the Tenth

   Circuit found in Deherrera that the disputed terms of the exemption presented no

   ambiguity when read in context, and interpreted its meaning in one way. The CDLE, on

   the other hand, insists that it has only “clarified” that the exemption, in fact, means

   something else. With the central dispute teed up in this manner, the Court easily

   concludes that the CDLE has substantively changed the law, notwithstanding its

   accompanying commentary that its new Wage Order did nothing more than clarify it.10

   See id. at 189 (quoting 1A Norman J. Singer, Sutherland Statutory Construction, §

   22:30, at 373 (6th ed. 2000) (“An amendment of an unambiguous statute indicates a

   purpose to change the law, whereas no such purpose is indicated by the mere fact of

          10
              “A failure to include in amendatory legislation any adequate indication of intent to
   clarify existing statutory language can therefore, at most, be indicative of the legislature’s
   understanding of the current state of the law and its desire to change it. Especially where an
   existing statute has already undergone construction by a final judicial authority, further
   legislative amendment necessarily reflects the legislature’s understanding of that construction,
   or perhaps simply disagreement with how it is being (or fear of how it is likely to be) interpreted
   by other courts. Such an amendment can fairly be presumed to intend a change in the
   law—the law as the amending legislature believes it to be following earlier judicial
   construction—but it implies virtually nothing about original legislative intent. Amendatory
   legislation, in the absence of an adequate indication of intent to clarify, may therefore, in and of
   itself, contribute precious little to the judicial construction of the original, un-amended statutory
   language.” Martin, 209 P.3d at 188–89.


                                                    16
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 17 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 18 of 23




   an amendment of an ambiguous provision.”)).

          Further, the Court finds that the amended exemption in COMPS Order 36 cannot

   be applied retroactively. Colorado’s constitution provides that “[n]o . . . law . . .

   retrospective in its operation . . . shall be passed by the general assembly.” DeWitt, 54

   P.3d at 854 (quoting Colo. Const. art. II, § 11). “A statute is retrospective if it takes

   away or impairs vested rights acquired under existing laws, or creates a new obligation,

   imposes a new duty, or attaches a new disability, in respect to transactions or

   considerations already past.” Id. (internal quotation marks and citation omitted).

   “Retroactive application of statutes is generally disfavored by both common law and

   statute.” Id. To overcome the presumption of prospectivity, the statute must reveal a

   clear legislative intent of retroactivity; express language of retroactive application is not

   required for a court to find such intent. Id. If a court determines that the legislature

   intended retroactivity, the court turns to the question of whether the statute is

   unconstitutionally retrospective. Id.

          Bachanov contends that the CDLE, by referring to its “original intent” and

   “intended interpretation” of the exemption, intended retroactive application. (ECF No.

   36 at 6.) The Court is skeptical that such language reveals “clear legislative intent of

   retroactivity.” Nevertheless, even assuming arguendo that COMPS Order 36 was

   intended to be applied retroactively, the Court agrees with FedEx Ground that “because

   COMPS [Order 36] narrows the scope of the exemption, it necessarily imposes a new

   burden on employers by requiring the payment of overtime to employees who were




                                                 17
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 18 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 19 of 23




   exempt under the pre-amended exemption.”11 (ECF No. 38 at 8.) The “retroactive

   application of a statute is not retrospective where it effects a change that is procedural

   or remedial as opposed to substantive.” DeWitt, 54 P.3d at 857. Thus, as concluded

   earlier, the new requirement of paying overtime to drivers who were previously exempt

   as interstate drives under the Wage Order is a substantive change for employers.

          Bachanov attempts to circumvent this conclusion by arguing that employers were

   already obligated to pay overtime under Brunson. (ECF No. 36 at 8.) He also argues

   that given what he describes as “the conflicting precedent,” FedEx Ground could not

   have reasonably relied on existing law. (Id. at 7.) Of course, Brunson is not binding on

   this Court; Deherrera is. Moreover, as FedEx Ground points out, such reasoning is

   circular, as it assumes that the amendment was merely a clarification of, not a change

   to, the exemption. (ECF No. 38 at 8.) As the Court finds that COMPS Order 36 cannot

   be applied retroactively, it also concludes that Bachanov was an exempt interstate

   driver under the pre-amended exemption.

          Accordingly, FedEx Ground is entitled to summary judgment on Bachanov’s

   CMWA claim.12

          2.        Colorado Wage Claim Act

          The CWCA provides a comprehensive statutory scheme designed to require the



          11
               FedEx Ground does not assert that a vested right is implicated. (See ECF Nos. 19,
   38.)
          12
            Because the Court has found FedEx Ground’s arguments that Deherrera controls and
   COMPS Order 36 should not be applied retroactively to be determinative, the Court need not
   address the parties’ preemption arguments. (See ECF No. 19 at 9; ECF No. 36 at 8–15; and
   ECF No. 38 at 9–11.)

                                                  18
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 19 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 20 of 23




   timely payment of “earned, vested, and determinable” wages or compensation and, to

   that end, allows for judicial relief when employers fail to pay earned wages when due.

   (ECF No. 19 at 9 (citing Colo. Rev. Stat. §§ 8-4-101(14)(a)(I), 8-4-109; Cagle v.

   Mathers Family Tr., 295 P.3d 460, 469 (Colo. 2013)).) The CWCA does not, however,

   “itself create any substantive right to compensation for labor and services performed.”

   (Id. (quoting Barnes v. Van Schaak Mortg. a Div. of Van Schaack and Co. , 787 P.2d

   207, 210 (Colo. App. 1990)).) Therefore, to succeed on a CWCA claim, a plaintiff must

   first show that he or she is legally entitled to unpaid compensation under an

   employment agreement or some other, independent statutory scheme. (Id. at 10.); see

   Young v. Dollar Tree Stores, Inc., 2012 WL 3704994, at *3 (D. Colo. Aug. 24, 2012)

   (CWCA does not mandate payment of minimum wage and overtime pay).

         In this action, Bachanov’s CWCA claim is premised on FedEx Ground’s failure to

   pay overtime as required by the Wage Order. (ECF No. 9-2 ¶ 1.) Because Bachanov

   is not entitled to overtime under the CMWA, FedEx Ground is also entitled to summary

   judgment on Bachanov’s CWCA claim.

                                      IV. CONCLUSION

         For the foregoing reasons, the Court ORDERS as follows:

   1.     Defendant FedEx Ground Package System, Inc.’s Motion for Summary

         Judgment (ECF No. 19) is GRANTED;

   2.    Plaintiff Andrew Bachanov’s claims are DISMISSED with prejudice;

   3.    Judgment shall enter in favor of Defendant, and Defendant shall have its costs, if

         any, upon compliance with D.C.COLO.LCivR 54.1; and



                                              19
Case 1:20-cv-00601-WJM-SKC Document 59 Filed 12/03/20 USDC Colorado Page 20 of 20
        Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 21 of 23




   4.    The clerk shall terminate this action.


         Dated this 3rd day of December, 2020.

                                                   BY THE COURT:




                                                   William J. Martínez
                                                   United States District Judge




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Case 1:20-cv-00601-WJM-SKC Document 60 Filed 12/03/20 USDC Colorado Page 1 of 2
      Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 22 of 23




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Case No. 20-cv-0601-WJM-SKC

  ANDREW BACHANOV, on behalf of himself and all similarly situated,

          Plaintiff,

  v.

  FEDEX GROUND PACKAGE SYSTEM, INC.,

          Defendant.


                                         FINAL JUDGMENT


          In accordance with the orders filed during the pendency of this case, and

  pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

          Pursuant to the Order Granting Defendant’s Motion for Summary Judgment [ECF

  59] entered by Judge William J. Martínez on December 3, 2020, and incorporated

  herein by reference as if fully set forth, it is

          ORDERED that Defendant’s Motion for Summary Judgment [ECF 19] is granted.

  It is further

          ORDERED that Plaintiff’s claims are dismissed with prejudice. It is further

          ORDERED that final judgment is hereby entered in favor of Defendant, FedEx

  Ground Package System, Inc., and against Plaintiff, Andrew Bachanov. It is further

          ORDERED that Defendant shall have its costs by the filing of a Bill of Costs with

  the Clerk of this Court within fourteen days of the entry of judgment, pursuant to Fed. R.

  Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1.

          This case will be closed.
Case 1:20-cv-00601-WJM-SKC Document 60 Filed 12/03/20 USDC Colorado Page 2 of 2
      Case 2:24-cv-01129-RJC Document 24-11 Filed 12/02/24 Page 23 of 23




        DATED at Denver, Colorado this 3rd day of December, 2020.

                                             FOR THE COURT:

                                             JEFFREY P. COLWELL, CLERK

                                             By: s/Anna Frank
                                                 Anna Frank, Deputy Clerk
